Case 3:18-cr-00577-CRB Document 272-3 Filed 12/21/23 Page 1 of 6




            EXHIBIT 2
            Case 3:18-cr-00577-CRB Document 272-3 Filed 12/21/23 Page 2 of 6




 1 PATRICK D. ROBBINS (CABN 152288)
   Attorney for the United States
 2 Acting Under Authority Conferred by 28 U.S.C. § 515

 3 MARTHA BOERSCH (CABN 126569)
   Chief, Criminal Division
 4
   ROBERT S. LEACH (CABN 196191)
 5 ADAM A. REEVES (NYBN 2363877)
   KRISTINA N. GREEN (NYBN 5226204)
 6 ZACHARY G.F. ABRAHAMSON (CABN 310951)
   Assistant United States Attorneys
 7
          450 Golden Gate Avenue, Box 36055
 8        San Francisco, California 94102-3495
          Telephone: (415) 436-7014
 9        Fax: (415) 436-7234
          Email: Robert.Leach@usdoj.gov
10
   Attorneys for United States of America
11
                                   UNITED STATES DISTRICT COURT
12
                                 NORTHERN DISTRICT OF CALIFORNIA
13
                                       SAN FRANCISCO DIVISION
14
   UNITED STATES OF AMERICA,                   ) Case No. CR 18-577 CRB
15                                             )
          Plaintiff,                           ) UNITED STATES’ FIRST AMENDED WITNESS
16                                             ) LIST
      v.                                       )
17                                             ) Trial Date: March 18, 2024
   MICHAEL RICHARD LYNCH AND                   ) Pretrial Conference: February 21, 2024
18 STEPHEN KEITH CHAMBERLAIN,                  )
                                               )
19        Defendants.                          )
                                               )
20

21          Pursuant to the Court’s June 30, 2023 Scheduling Order (ECF No. 192), and following the
22 United States respectfully submits its Amended Witness List of the individuals it may call in its case-in-

23 chief on Counts One through Sixteen:

24          1.     Antonia Anderson
25          2.     Leo Apotheker
26          3.     Neil Araujo
27          4.     John Baiocco
28          5.     Ian Black

     U.S.’ FIRST AMENDED WITNESS LIST
     CASE NO. CR 18-577 CRB                          1
            Case 3:18-cr-00577-CRB Document 272-3 Filed 12/21/23 Page 3 of 6




 1         6.     Steven Brice

 2         7.     Dominic Camden

 3         8.     Chris Chan

 4         9.     Guy Chiarello

 5         10.    Harald Collet

 6         11.    Joe Cronin

 7         12.    John Cronin

 8         13.    Amit Daryanani

 9         14.    Christopher Egan

10         15.    Jim Fogo

11         16.    Al Furman

12         17.    Thomas Garner

13         18.    Marc Geall

14         19.    Andy Gersh

15         20.    Chris Goodfellow

16         21.    Larry Feinsmith

17         22.    Britta Huebsch or case agent

18         23.    Brent Hogenson

19         24.    Stephanie Horan

20         25.    Andy Johnson

21         26.    Robert Julien

22         27.    Doug Kehring

23         28.    Diane Kennelly

24         29.    Daud Khan

25         30.    Rob Knight

26         31.    Richard Knights

27         32.    David Lindsell

28         33.    William Loomis

     U.S.’ FIRST AMENDED WITNESS LIST
     CASE NO. CR 18-577 CRB                      2
            Case 3:18-cr-00577-CRB Document 272-3 Filed 12/21/23 Page 4 of 6




 1         34.    Fernando Lucini

 2         35.    Thomas Marinelli

 3         36.    Alex Marshall

 4         37.    John Meiers

 5         38.    Michael Menz

 6         39.    Nigel Mercer

 7         40.    Paul Morland

 8         41.    Tom Murray

 9         42.    Steve Ogden

10         43.    Frank Pau

11         44.    Alex Paul

12         45.    Reena Prasad

13         46.    Rahul Puri

14         47.    Frank Quattrone

15         48.    Alan Rizek

16         49.    Shane Robison

17         50.    Manish Sarin

18         51.    Bill Scannell

19         52.    John Schultz

20         53.    Joel Scott

21         54.    Christine Smeby

22         55.    Reagan Smith

23         56.    Jane Snider

24         57.    Matt Stephan

25         58.    Michael Sullivan

26         59.    Percy Tejada

27         60.    David Toms

28         61.    David Truitt

     U.S.’ FIRST AMENDED WITNESS LIST
     CASE NO. CR 18-577 CRB                3
            Case 3:18-cr-00577-CRB Document 272-3 Filed 12/21/23 Page 5 of 6




 1         62.    Steve Truitt

 2         63.    Nigel Upton

 3         64.    Ganesh Vaidyanathan

 4         65.    Bill Veghte

 5         66.    Roger Wang

 6         67.    Les Welbye

 7         68.    Lee Welham

 8         69.    Chris Yelland

 9         70.    Marco Zanchini

10         71.    Custodians of Records of

11                a.     Barclays

12                b.     BNP Paribas

13                c.     Cardinal Bank

14                d.     Capax Discovery LLC

15                e.     Comerica Bank

16                f.     Darktrace

17                g.     Discover Technologies LLC

18                h.     EMC Corporation

19                i.     Financial Reporting Council

20                j.     FTI Consulting, LLC

21                k.     Hewlett-Packard Enterprise and current and former affiliates

22                l.     HP Inc. and current and former affiliates

23                m.     John Marshall Bank

24                n.     M&T Bank

25                o.     Microtechnologies LLC

26                p.     KPMG

27                q.     PR Newswire

28                r.     Thomson Reuters (Markets) LLC

     U.S.’ FIRST AMENDED WITNESS LIST
     CASE NO. CR 18-577 CRB                       4
            Case 3:18-cr-00577-CRB Document 272-3 Filed 12/21/23 Page 6 of 6




 1                 s.      West Corporation

 2          The United States reserves the right to change, modify, or supplement this list as it prepares for

 3 trial.

 4 DATED: December 15, 2023                                PATRICK D. ROBBINS
                                                           Attorney for the United States Attorney
 5                                                         Acting Under Authority Conferrred by
                                                           28 U.S.C. § 515
 6

 7
                                                 By:
 8                                                         ROBERT S. LEACH
                                                           ADAM A. REEVES
 9                                                         KRISTINA N. GREEN
10                                                         ZACHARY G.F. ABRAHAMSON
                                                           Assistant United States Attorneys
11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28

     U.S.’ FIRST AMENDED WITNESS LIST
     CASE NO. CR 18-577 CRB                            5
